            Case 1:16-cr-00151-DAD-BAM Document 67 Filed 08/02/17 Page 1 of 4

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 6
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:16-CR-00151-DAD-BAM-3

12                                 Plaintiff,             AGREEMENT REGARDING DEFERED
                                                          PROSECUTION; FINDINGS AND ORDER
13                           v.

14   DANIEL HARTE,

15                                 Defendant.

16

17                           AGREEMENT REGARDING DEFERRED PROSECUTION
18          After further investigation of the offense for which Daniel Harte (“Defendant”) was indicted on

19 September 15, 2016, in the above-caption matter, and Defendant’s background, the government believes

20 that the interest of the United States, Defendant’s own interest, and the interest of justice will all be best

21 served by the procedure set forth below. Consequently, the United States, by and through its counsel of

22 record, Brian K. Delaney and Angela L. Scott, and the Defendant hereby agree to the following:

23          1.      Trial in this matter is currently scheduled for November 7, 2017. By this agreement,

24 defendant moves to vacate the currently scheduled trial and requests, alternatively, to set a status

25 conference for January 29, 2018, and to exclude time between November 7, 2017, and January 29, 2018,

26 inclusive, under the Speedy Trial Act, 18 U.S.C.§ 3161(h)(2).

27          2.      Pursuant to 18 U.S.C. § 3161(h)(2), the defendant agrees to waive, and does hereby

28 expressly waive, any and all rights to a speedy trial pursuant to the Sixth Amendment of the United


       AGREEMENT RE DEFERRED PROSECUTION                  1
           Case 1:16-cr-00151-DAD-BAM Document 67 Filed 08/02/17 Page 2 of 4

 1 States Constitution, Title 18, United States Code, Section 3161, Federal Rule of Criminal Procedure

 2 48(b), and any applicable Local Rules of the United States District Court for the Eastern District of

 3 California, for the period of time that this Agreement is in effect.

 4          3.      The United States shall, and hereby does, recommend to the Court that prosecution of this

 5 matter be deferred for approximately six months, until January 29, 2018, provided that the Defendant

 6 abides by the following conditions and the requirements of the program set forth below.

 7          4.      The United States Attorney may at any time within the period of Defendant’s supervision

 8 initiate prosecution for the offenses charged in the September 15, 2016 indictment should Defendant

 9 violate the conditions of this supervision, and will furnish Defendant with notice specifying the

10 conditions of the program which defendant has violated.

11          5.      If upon completion of Defendant’s period of supervision, the United States Pretrial

12 Services Department confirms that Defendant complied with all the rules, regulations and conditions

13 mentioned below, the United States will move to dismiss the indictment against Defendant in the above-

14 captioned matter.

15          6.      Conditions of Deferred Prosecution:

16               a. Defendant shall abide by all terms and conditions of pretrial release as previously

17                  imposed under the above-captioned case number, including any drug abuse testing and

18                  treatment conditions, as well an any additional terms and conditions of pretrial release

19                  that are subsequently imposed during this approximate six-month period; and

20               b. Defendant shall obey all laws during this approximate six-month period. The term “obey

21                  all laws” as used herein means all federal, state and local laws. A determination of

22                  whether the defendant has violated a state, federal or local law will be according to a

23                  probable cause standard. An offense that can be charged only as an infraction will not be

24                  considered a “crime” within the meaning of this agreement.

25          7. By signing below, defendant agrees and certifies the following:

26                  a.      I am aware of the fact that the Sixth amendment to the Constitution of the United

27                  States provides that in all criminal prosecutions the accused shall enjoy the right to a

28                  speedy and public trial. I also am aware that Rule 48(b) of the Federal Rules of Criminal


      AGREEMENT RE DEFERRED PROSECUTION                   2
           Case 1:16-cr-00151-DAD-BAM Document 67 Filed 08/02/17 Page 3 of 4

 1                 Procedure provides that the Court may dismiss an indictment, information, or complaint

 2                 for unnecessary delay in presenting a charge to the Grand Jury, filing an information or in

 3                 bringing a defendant to trial. I hereby request that the United States Attorney for the

 4                 Eastern District of California defer any prosecution of me for the violations set forth in

 5                 the indictment filed against me on September 15, 2016, for a period of approximately six

 6                 months, to January 29, 2018. To induce him to defer such prosecution I agree and

 7                 consent that any delay from the date of this Agreement to the date of the re-initiation of

 8                 the prosecution, as provided for in the terms expressed herein, shall be deemed to be a

 9                 necessary delay at my request and I waive any defense to such prosecution on the

10                 grounds that such delay operated to deny my rights under Rule 48(b) of the Federal Rules

11                 of Criminal Procedure and Sixth Amendment to the Constitution of the United States to a

12                 speedy trial or to bar the prosecution by reason of the running of the statute of limitations

13                 for a period of months which is the period of this Agreement. I hereby state that the

14                 above has been read and explained to me. I understand the conditions of my pretrial

15                 diversion and agree that I will comply with them.

16                 b.

17                                    APPROVALS AND SIGNATURES

18
     A.    Defense Counsel
19
           I have read this Agreement Regarding Deferred Prosecution and have discussed it fully with my
20 client. This Agreement accurately and completely sets forth the entirety of the agreement between the
   parties. I concur in my client’s decision to agree to deferred prosecution in this matter.
21

22
           Dated: __7/27/17__                                    __/s/ Richard Oberto___________________
23                                                               RICHARD OBERTO
                                                                 Attorney for Defendant
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      AGREEMENT RE DEFERRED PROSECUTION                  3
              Case 1:16-cr-00151-DAD-BAM Document 67 Filed 08/02/17 Page 4 of 4

 1 B.         Defendant

 2         I have read this Agreement Regarding Deferred Prosecution and carefully reviewed every part of
   it with my attorney. I understand it, and I voluntarily agree to it. Further, I have consulted with my
 3 attorney and fully understand my rights and the significance of deferred entry of judgment in my case.
   No other promises or inducements have been made to me, other than those contained in this Agreement.
 4
           In addition, no one has threatened or forced me in any way to enter in this Agreement. Finally, I
 5 am satisfied with the representation of my attorney in this case.

 6

 7            Dated:_7/24/17_____                                _/s/ Daniel Harte_____________________
                                                                 DANIEL HARTE
 8                                                               Defendant

 9 C.         Attorney for United States

10         I accept and agree to this Agreement Regarding Deferred Prosecution on behalf of the
     government.
11
              Dated: 8/2/17__________                            PHILLIP A. TALBERT
12                                                               United States Attorney

13                                                               _____________________________

14                                                               /s/ Brian K. Delaney
                                                                 BRIAN K. DELANEY
15                                                               ANGELA L.SCOTT
                                                                 Assistant U.S. Attorney
16

17                                         FINDINGS AND ORDER

18            Pursuant to the parties’ Agreement Regarding Deferred Prosecution and for good cause shown,

19 the trial confirmation currently set for October 16, 2017, and jury trial currently set for November 7,

20 2017, are hereby vacated and a status conference is set for January 29, 2018, at 10:00 a.m. The time

21 period between November 7, 2017, and January 29, 2018, is excluded from the calculation under the

22 Speedy Trial Act pursuant to 18 U.S.C.§ 3161(h)(2) for the reasons stated in the parties’ Agreement

23 Regarding Deferred Prosecution. The Motion Hearing scheduled for August 3, 2017, at 10:00 AM

24 before Magistrate Judge Barbara A. McAuliffe is hereby vacated.

25 IT IS SO ORDERED.

26
     Dated:     August 2, 2017
27                                                    UNITED STATES DISTRICT JUDGE

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      AGREEMENT RE DEFERRED PROSECUTION                 4
